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  Fill in this information to identify the case:


  Debtor name Jo & Mike Properties, LLC


  United States Bankruptcy Court for the:                         District of   NV
                                                                                (State)
  Case number (If known):                                                                                                                 ❑    1Check if this is
                                                                                                                                              an amended
                                                                                                                                              filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                       12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:      Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?
   X      No. Go to Part 2.
   ❑      Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                             Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                   $

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1.                                                                                                                           $
   3.2.                                                                                                                           $


4. Other cash equivalents (Identify all)
   4.1.                                                                                                                           $
   4.2.                                                                                                                           $

5. Total of Part 1
                                                                                                                                  $
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:      Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
   X      No. Go to Part 3.
   ❑      Yes. Fill in the information below.

                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit

   7.1.
                                                                                                                                      $
   7.2.
                                                                                                                                      $


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8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.                                                                                                                               $
   8.2.                                                                                                                               $

9. Total of Part 2.
                                                                                                                                      $
   Add lines 7 through 8. Copy the total to line 81.



Part 3:     Accounts receivable

10. Does the debtor have any accounts receivable?
    X      No. Go to Part 4.
    ❑ Yes. Fill in the information below.
                                                                                                                                      Current value of debtor’s
                                                                                                                                      interest
11. Accounts receivable

    11a. 90 days old or less:                                  –                                        = ........➔                   $
                                   face amount                     doubtful or uncollectible accounts

    11b. Over 90 days old:                                    –                                         = ........➔                   $
                                   face amount                     doubtful or uncollectible accounts



12. Total of Part 3
                                                                                                                                      $
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:     Investments

13. Does the debtor own any investments?
    X No. Go to Part 5.
    ❑ Yes. Fill in the information below.
                                                                                                             Valuation method             Current value of debtor’s
                                                                                                             used for current value       interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1.                                                                                                                              $
   14.2.
                                                                                                                                      $



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                   % of ownership:

   15.1.                                                                                       %                                      $
   15.2.                                                                                       %                                      $

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1.                                                                                                                              $
   16.2.                                                                                                                              $




17. Total of Part 4
                                                                                                                                      $
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                       Schedule A/B: Assets ⎯ Real and Personal Property                                          page 2
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Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    X     No. Go to Part 6.
    ❑ Yes. Fill in the information below.
        General description                         Date of the last      Net book value of      Valuation method used           Current value of
                                                    physical inventory    debtor's interest      for current value               debtor’s interest
                                                                          (Where available)
19. Raw materials
                                                                          $                                                  $
                                                    MM / DD / YYYY

20. Work in progress
                                                                          $                                                  $
                                                    MM / DD / YYYY

21. Finished goods, including goods held for resale

                                                                          $                                                  $
                                                    MM / DD / YYYY

22. Other inventory or supplies
                                                                          $                                                  $
                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                          $
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    ❑      No
    ❑      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    ❑      No
    ❑      Yes. Book value                       Valuation method                        Current value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    ❑      No
    ❑      Yes

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    X No. Go to Part 7.
    ❑ Yes. Fill in the information below.
        General description                                                Net book value of     Valuation method used           Current value of debtor’s
                                                                           debtor's interest     for current value               interest
                                                                           (Where available)
28. Crops—either planted or harvested
                                                                              $                                              $

29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                              $                                              $

30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                              $                                              $

31. Farm and fishing supplies, chemicals, and feed
                                                                              $                                              $

32. Other farming and fishing-related property not already listed in Part 6
                                                                              $                                              $




Official Form 206A/B                                       Schedule A/B: Assets ⎯ Real and Personal Property                                 page 3
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33. Total of Part 6.                                                                                                             $
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    ❑ No
    ❑ Yes. Is any of the debtor’s property stored at the cooperative?
      ❑ No
      ❑ Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ❑ No
    ❑ Yes. Book value $                     Valuation method                          Current value $
36. Is a depreciation schedule available for any of the property listed in Part 6?

    ❑ No
    ❑ Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    ❑ No
    ❑ Yes

Part 7:     Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    X     No. Go to Part 8.
    ❑ Yes. Fill in the information below.

   General description                                                        Net book value of         Valuation method         Current value of debtor’s
                                                                              debtor's interest         used for current value   interest
                                                                              (Where available)

39. Office furniture
                                                                               $                                                 $

40. Office fixtures

                                                                               $                                                 $

41. Office equipment, including all computer equipment and
    communication systems equipment and software
                                                                               $                                                 $

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1                                                                        $                                                 $
   42.2                                                                        $                                                 $
   42.3                                                                        $                                                 $
43. Total of Part 7.
                                                                                                                                 $
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    ❑ No
    ❑ Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    ❑ No
    ❑ Yes


Official Form 206A/B                                        Schedule A/B: Assets ⎯ Real and Personal Property                                page 4
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Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
    X No. Go to Part 9.
    ❑ Yes. Fill in the information below.

   General description                                                     Net book value of       Valuation method used     Current value of
                                                                           debtor's interest       for current value         debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1                                                                     $                                                $

   47.2                                                                     $                                                $

   47.3                                                                     $                                                $

   47.4                                                                     $                                                $

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1                                                                    $                                                 $

   48.2                                                                    $                                                 $

49. Aircraft and accessories

   49.1                                                                    $                                                 $

   49.2                                                                    $                                                 $

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

                                                                           $                                                 $


51. Total of Part 8.
                                                                                                                             $
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    ❑     No
    ❑     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    ❑     No
    ❑     Yes




Official Form 206A/B                                       Schedule A/B: Assets ⎯ Real and Personal Property                           page 5
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Part 9:     Real property

54. Does the debtor own or lease any real property?
      No. Go to Part 10.
    X Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of      Valuation method used     Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest      for current value         debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1 6490 W Desert Inn, Rd Las Vegas, NV 89146          Comm. Bldg, Owner     $                       Appraisal 9/14/17        $ $630,000

    55.2                                                                          $                                                $

    55.3                                                                          $                                                $

    55.4                                                                          $                                                $

    55.5                                                                          $                                                $

    55.6                                                                          $                                                $


56. Total of Part 9.
                                                                                                                                   $ 630,000.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    ❑      No
    X      Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    X   No
    ❑      Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    X No. Go to Part 11.
    ❑ Yes. Fill in the information below.
        General description                                                       Net book value of      Valuation method          Current value of
                                                                                  debtor's interest      used for current value    debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
                                                                                  $                                                $

61. Internet domain names and websites
                                                                                  $                                                    $

62. Licenses, franchises, and royalties
                                                                                  $                                                    $

63. Customer lists, mailing lists, or other compilations
                                                                                  $                                                    $

64. Other intangibles, or intellectual property
                                                                                      $                                             $

65. Goodwill
                                                                                      $                                             $

66. Total of Part 10.
                                                                                                                                    $
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets ⎯ Real and Personal Property                                   page 6
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67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    ❑    No
    ❑    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    ❑    No
    ❑    Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    ❑    No
    ❑    Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    X    No. Go to Part 12.
    ❑     Yes. Fill in the information below.
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                        –                                      =➔       $
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

                                                                                                           Tax year                 $
                                                                                                           Tax year                 $
                                                                                                           Tax year                 $

73. Interests in insurance policies or annuities
                                                                                                                                        $

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
                                                                                                                                        $
    Nature of claim
    Amount requested                  $

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
                                                                                                                                        $

    Nature of claim
    Amount requested                  $

76. Trusts, equitable or future interests in property

                                                                                                                                            $

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership

                                                                                                                                        $
                                                                                                                                        $

78. Total of Part 11.
                                                                                                                                        $
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    ❑    No
    ❑    Yes

Official Form 206A/B                                       Schedule A/B: Assets ⎯ Real and Personal Property                                          page 7
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Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


      Type of property                                                                              Current value of                         Current value
                                                                                                    personal property                        of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $ 0.00


81. Deposits and prepayments. Copy line 9, Part 2.                                                     $ 0.00


82. Accounts receivable. Copy line 12, Part 3.                                                         $ 0.00


83. Investments. Copy line 17, Part 4.                                                                 $ 0.00


84. Inventory. Copy line 23, Part 5.                                                                   $ 0.00


85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $ 0.00

86. Office furniture, fixtures, and equipment; and collectibles.                                       $ 0.00
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $ 0.00


88. Real property. Copy line 56, Part 9. .....................................................................................➔              $ 630,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $ 0.00


90. All other assets. Copy line 78, Part 11.                                                      +    $ 0.00


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                  $ 0.00                     +   91b.
                                                                                                                                             $ 630,000




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................   $ 630,000




Official Form 206A/B                                                     Schedule A/B: Assets ⎯ Real and Personal Property                                                page 8
